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IN THE UNITED sTATEs DISTRICT CoURT j

FoR THE WESTERN DISTRICT oF TENNESSEE 95 page _3 pier 9; 27
EASTERN DIVISION *

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are t.,';Eh/EPH§S

 

BERNELL S., JR.,
Plaintiff,
v. No. 99-1260-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants .

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pharn for all discovery and
non~dispositive motions presently pen 'ng and/or filed during the course of this litigation

IT IS SO ORDERED this day of May, 2005.

 

§ . DANIEL BREEN
Nl'r STATES DISTRICT JUDGE

This document entered on the dockets eat in compfiance
with Ftule 58 and/or 79(a) FRCP on 4 ’ 505

 

 

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Honorable J. Breen
US DISTRICT COURT

